        Case 22-01109-MBK                Doc 2   Filed 04/25/22 Entered 04/25/22 10:16:28                 Desc Main
                            UNITED             STATES BANKRUPTCY
                                                 Document     Page 1 of 1   COURT
                                 DISTRICT OF NEW JERSEY
In the matter of:
George Sariotis and Cindy Sariotis
                                                      Debtor
George Sariotis and Cindy Sariotis


                                                      Plaintiff(s)
                                                                              Case No.         ______________________
                                                                                                     22-12916
v.
Thalia Sariotis, Ellynn Wetter, Ryan Wetter
                                                                              Adversary No.    ______________________
                                                                                                      22-1109


                                                      Defendant(s)            Judge:                   Kaplan
                                                                                               ______________________


                         SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.

             Address of Clerk        U.S. Bankruptcy Court
                                     402 East State Street
                                     Trenton, NJ 08608

At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.
                                          Geoffrey P. Neumann
             Name and Address of
                                          Broege, Neumann, Fischer & Shaver, LLC
             Plaintiff’s Attorney
                                          25 Abe Voorhees Drive
                                          Manasquan, NJ 08736

If you make a motion, your time to answer is governed by Fed.R.Bankr.P. 7012.
YOU ARE NOTIFIED that a pretrial conference of the proceeding commenced by the filing of the complaint will be
held at the following time and place.

             Address                                                 Courtroom:    8
                        U.S. Bankruptcy Court
                        402 East State Street
                        Trenton, NJ 08608                            Date and Time:

                                                                             6/30/2022 at 10:00 am


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT
   TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE
              TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

                                                                       Jeanne A. Naughton, Clerk

Date: ___________________________________
      4/25/2022                                                        By: ______________________________________
                                                                            Gary A. Nau
                                                                           Deputy Clerk

                                                                                                               rev.1/4/17

Pursuant to D.N.J. LBR 9019-2, Mediation: Procedures, there is a presumption of mediation in all adversary
proceedings. For more information regarding the mediation program, see the related Local Rules and forms
on the Court’s web site njb.uscourts.gov/mediation.
